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A O 2 4 5 D -CA ED (Rev . 9 / 0 1 ) Sh eet 1 - J u d g m en t in a Crim in al Case f o r Rev o c at io n




                                               United States District Court
                                                        Eastern District of California

             UNITED STATES OF AMERICA                                                            JUDGMENT IN A CRIMINAL CASE
                        v.                                                                       (For Violation of Probation or Supervised Release)
                                                                                                 (For Offenses committed on or after November 1, 1987)
                 JOE NEWMAN GILL
                            (Defendant’ s Name)                                                  Criminal Number: 1:05CR00461-001


                                                                                                 CARRIE LEONETTI
                                                                                                 D ef endant ’ s A t t orn ey


THE DEFENDANT:
[U] admit t ed guilt t o violat ion of charge(s) 1-2 as alleged in t he violat ion pet it ion f iled on 3/14/2008 .
[]  w as f ound in violat ion of condit ion(s) of supervision as t o charge(s)      af t er denial of guilt , as alleged in t he
    violat ion pet it ion filed on .
ACCORDINGLY, t he court has adjudicat ed t hat t he def endant is guilt y of t he f ollow ing violat ion(s):

Violation Number                                Nature of Violation                                                       Date Violation Occurred
One                                             New Law Violat ion                                                        3/2/2008
Tw o                                            Unlaw f ul Use of a Cont rolled Subst ance                                3/17/2008



The court: [ ] revokes: [U] modifies: [X] continues under same conditions of supervision heretofore ordered on                                      6/12/2006
.

       The def endant is sent enced as provided in pages 2 t hrough 4 of t his judgment . The sent ence is imposed
pursuant t o t he Sent encing Ref orm Act of 1984.

[]          Charge(s)               is/are dismissed.


            Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

       IT IS FURTHER ORDERED t hat t he def endant shall not if y t he Unit ed St at es At t orney f or t his dist rict w it hin
30 days of any change of name, residence, or mailing address unt il all f ines, rest it ut ion, cost s, and special
assessment s imposed by t his judgment are f ully paid.

                                                                                                                        4/14/2008
                                                                                                             Dat e of Imposit ion of Sentence


                                                                                                                  /s/ OLIVER W. WANGER
                                                                                                                Signat ure of Judicial Of f icer


                                                                                             OLIVER W. WANGER, Unit ed St at es Dist rict Judge
                                                                                                     Name & Tit le of Judicial Of f icer


                                                                                                                                4/15/2008
                                                                                                                                   Dat e
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A O 2 4 5 B-CA ED (Rev . 3 / 0 4 ) Sheet 3 - Superv ised Release

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                                                          SUPERV ISED RELEASE
          The defendant shall continue on supervised release as ordered in the judgment dated 6/13/2006.


The defendant must report to the probation office in the district to w hich the defendant is released w ithin 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlaw fully possess a controlled substance. The defendant shall refrain from any unlaw ful use of
controlled substance. The defendant shall submit to one drug test w ithin 15 days of release from imprisonment and at least
tw o periodic drug tests thereafter, not to exceed four (4) drug tests per month.

[ ]       The above drug testing condition is suspended based on the court ' s determination that the defendant poses a low risk
          of future substance abuse. (Check, if applicable.)

[U]       The defendant shall not possess a firearm, destructive device, or any other dangerous w eapon. (Check, if applicable.)

[ U]      The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if applicable.)

[ ]       The defendant shall register and comply w ith the requirements in the federal and state sex offender registration
          agency in the jurisdiction of conviction, Eastern District of California, and in the state and in any jurisdiction w here the
          defendant resides, is employed, or is a student. (Check, if applicable.)

[ ]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitut ion obligation, it is a condition of supervised release that the defendant pay in
accordance w ith the Schedule of Payments sheet of this judgment.

The defendant must comply w ith the standard conditions that have been adopted by this court as w ell as w ith any additional
conditions on the attached page.


                                     STANDARD CONDITIONS OF SUPERV ISION
1)     the defendant shall not leave the judicial district w ithout permission of the court or probation of ficer;
2)     the defendant shall report to the probation officer and shall submit a truthful and complete w ritten report w ithin the first
       five days of each month;
3)     the defendant shall answ er truthf ully all inquiries by the probation of ficer and follow instructions of the probation of ficer;
4)     the defendant shall support his or her dependants and meet other family responsibilities;
5)     the defendant shall w ork regularly at a law ful occupation unless excused by the probation officer for schooling, training
       or other acceptable reasons;
6)     the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)     the defendant shall refrain from excessive use of alcohol;
8)     the defendant shall not frequent places w here controlled substances are illegally sold, used, distributed, or administered;
9)     the defendant shall not associate w ith any persons engaged in criminal activity, and shall not associate w ith any person
       convicted of a felony unless grant ed permission to do so by the probation of ficer;
10)    the defendant shall permit a probation of ficer to visit him or her at any time at home or elsew here, and shall permit
       confiscation of any cont raband observed in plain view by the probation of ficer;
11)    the defendant shall notify the probation officer w ithin seventy-tw o hours of being arrested or questioned by a law
       enf orcement officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
       w it hout the permission of the court;
13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
       defendant' s criminal record or personal history or characteristics, and shall permit the probation officer to make such
       notifications and to confirm the defendant' s compliance w ith such notification requirement.
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                                        SPECIAL CONDITIONS OF SUPERV ISION

          1.     The defendant shall submit to the search of his person, property, home, and vehicle by a
                 United States Probation Officer, or any other authorized person under the immediate and
                 personal supervision of the probation officer, based upon reasonable suspicion, without a
                 search warrant. Failure to submit to a search may be grounds for revocation. The defendant
                 shall warn any other residents that the premises may be subject to searches pursuant to this
                 condition.

          2.     The defendant shall not dispose of or otherwise dissipate any of his assets until the fine and/or
                 restitution order by this judgment is paid in full, unless the defendant obtains approval of the
                 court.

          3.     The defendant shall provide the probation officer with access to any requested financial
                 information.

          4.     The defendant shall not open additional lines of credit without the approval of the probation
                 officer.

          5.     As directed by the probation officer, the defendant shall participate in a correctional treatment
                 program (inpatient or outpatient) to obtain assistance for drug or alcohol abuse.

          6.     As directed by the probation officer, the defendant shall participate in a program of testing
                 (i.e. breath, urine, sweat patch, etc.) to determine if he has reverted to the use of drugs or
                 alcohol.

          7.     The defendant shall abstain from the use of alcoholic beverages and shall not frequent those
                 places where alcohol is the chief item of sale.

          8.     As directed by the probation officer, the defendant shall participate in a program of mental
                 health treatment (inpatient or outpatient.)

          9.     As directed by the probation officer, the defendant shall participate in a co-payment plan for
                 treatment or testing and shall make payment directly to the vendor under contract with the
                 United States Probation Office of up to $25 per month.

          10. The defendant shall consent to the probation officer and/or probation service representative
              conducting periodic unannounced examinations of (a) any computer, or (b) computer-related
              device, or (c) equipment that has an internal or external modem which is in the possession
              or control of the defendant. The defendant consents to retrieval and copying of all data from
              any such computer, computer-related device, or equipment as well as any internal or external
              peripherals to ensure compliance with conditions. The defendant consents to removal of such
              computer, computer-related device, and equipment for purposes of conducting a more
              thorough inspection and analysis.

                 The defendant consents to having installed on any computer, computer-related device, and
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                 equipment, at the defendant’s expense, any hardware or software systems to monitor the use
                 of such computer, computer-related device, and equipment at the direction of the probation
                 officer, and agrees not to tamper with such hardware or software and not install or use any
                 software programs designed to hide, alter, or delete his/her computer activities. The
                 defendant consents to not installing new hardware without the prior approval of the probation
                 officer.

          11. The defendant shall enroll, reside, and participate in the Westcare Residential (inpatient) Drug
              Program for 90 days (3 months). In addition, the defendant shall participate and complete
              a 90 day aftercare program (3 months). The defendant shall not leave the program without
              authorization of the United States Probation Office or the program director. Involuntary
              termination of the program will result in supervised release being revoked and defendant will
              be sentenced to a term in custody of 9 months.
